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    UNITED STATES DISTRICT COURT
1   WESTERN DISTRICT OF NEW YORK
2   ------------------------------------------------------------------X
    DOUGLAS J. HORN and CINDY HARP-HORN,
3                                                                          Civil Action No:
                                       Plaintiffs,                         15-cv-701 FPG/MJR
4
                              -against-                                    NOTICE OF MOTION
5
6   MEDICAL MARIJUANA, INC.,
    DIXIE ELIXIRS AND EDIBLES,
7   RED DICE HOLDINGS, LLC, and
    DIXIE BOTANICALS,
8
9                                       Defendants,
    -------------------------------------------------------------------X
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            PLEASE TAKE NOTICE that upon the Plaintiffs’ Statement pursuant to Local Rule
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    56(a)(1); the Declaration of Jeffrey Benjamin, Esq. dated August 29, 2018; the Affidavit of
2
    Plaintiffs; the Affidavit of Dr. Kenneth Graham, Ph.D., R.Ph. and upon all of the Exhibits,
3
4   papers and proceedings herewith and heretofore had herein, Plaintiffs by their counsel will move

5   this Court before the Hon. Frank P. Geraci, Jr. United States District Judge at the U.S.
6   Courthouse, 2 Niagara Square Buffalo, New York 14202 for an Order pursuant to FRCP 56(a)
7
    granting Plaintiffs partial summary judgment on the issue of liability under Plaintiffs’ statutory
8
    causes of action, along with such other and further relief as this Court deems just and proper.
9
            PLEASE TAKE FURTHER NOTICE that pursuant to Local Court Rules,
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1   answering/reply affidavits, if any, are required to be served upon the undersigned by September

2   27, 2018.
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1   Dated: New York, New York          Respectfully Submitted,
           August 29, 2018
2                                      KUPILLAS, UNGER & BENJAMIN, LLP
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4                                      Jeffrey Benjamin, Esq.
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